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                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


STATE OF NEW YORK; STATE OF ARIZONA,
STATE OF CALIFORNIA, STATE OF
COLORADO, STATE OF CONNECTICUT, STATE
OF DELAWARE, STATE OF HAWAII, STATE OF
ILLINOIS, STATE OF MAINE, STATE OF
MARYLAND, COMMONWEALTH OF                                C.A. No. 25-cv-001144
MASSACHUSETTS, STATE OF MINNESOTA,
STATE OF NEVADA, STATE OF NEW JERSEY,                    MOTION FOR ADMISSION
STATE OF NORTH CAROLINA, STATE OF                        PROHACVICE
OREGON, STATE OF RHODE ISLAND, STATE
OF VERMONT, and STATE OF WISCONSIN,

               Plaintiffs,

          V.


DONALD J. TRUMP, IN HIS OFFICIAL
CAPACITY AS PRESIDENT OF THE UNITED
STATES; U.S. DEPARTMENT OF THE
TREASURY; and SCOTT BESSENT, IN HIS
OFFICIAL CAPACITY AS SECRETARY OF U.S.
DEPARTMENT OF THE TREASURY,

               Defendants.



Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the Southern and Eastern

Districts of New York, Elizabeth Kramer hereby move this Court for an Order for admission to

practice Pro Hae Vice to appear as counsel for Plaintiff State of Minnesota in the above-captioned

action.

I am in good standing of the bar of the state of Minnesota and there are no pending disciplinary

proceedings against me in any state or federal court. I have never been convicted of a felony. I

have never been censured, suspended, disbarred or denied admission or readmission by any

court. I have attached the affidavit pursuant to Local Rule 1.3.
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                               Respectfully submitted,

                               KEITH ELLISON
                               Attorney General
                               State of Minnesota


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                              Solicitor General
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                              ATTORNEY FOR STATE OF MINNESOTA
